Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 1 of 15 Page ID #:4




                               Exhibit 1                                  3
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 2 of 15 Page ID #:5




                               Exhibit 1                                  4
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 3 of 15 Page ID #:6




                               Exhibit 1                                  5
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 4 of 15 Page ID #:7




                               Exhibit 1                                  6
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 5 of 15 Page ID #:8




                               Exhibit 1                                  7
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 6 of 15 Page ID #:9




                               Exhibit 1                                  8
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 7 of 15 Page ID #:10




                                Exhibit 1                                  9
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 8 of 15 Page ID #:11




                                Exhibit 1                                  10
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 9 of 15 Page ID #:12




                                Exhibit 1                                  11
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 10 of 15 Page ID #:13




                                Exhibit 1                               12
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 11 of 15 Page ID #:14




                                Exhibit 1                               13
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 12 of 15 Page ID #:15




                                Exhibit 1                               14
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 13 of 15 Page ID #:16




                                Exhibit 1                               15
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 14 of 15 Page ID #:17




                                Exhibit 1                               16
Case 8:21-cv-01432 Document 1-1 Filed 09/01/21 Page 15 of 15 Page ID #:18




                                Exhibit 1                               17
